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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

  FRACTUS, S.A.,                      §
                                      § CIVIL ACTION NO. 2:18-CV-00135-JRG
              Plaintiff,              §             LEAD CASE
                                      §       JURY TRIAL DEMANDED
  v.                                  §
                                      §
  AT&T MOBILITY LLC,                  §
                                      §
  T-MOBILE US, INC., T-MOBILE USA,    § CIVIL ACTION NO. 2:18-CV-00137-JRG
  INC.,                               §           MEMBER CASE
                                      §
                                      §
  CELLCO PARTNERSHIP D/B/A            § CIVIL ACTION NO. 2:18-CV-00138-JRG
  VERIZON WIRELESS,                   §           MEMBER CASE
                                      §
               Defendants.            §
                                      §
                                      §
  COMMSCOPE TECHNOLOGIES LLC          §
  CELLMAX TECHNOLOGIES AB             §
                                      §
       Intervenor Defendant.

        MOTION FOR SUMMARY JUDGMENT OF NO PRE-SUIT DAMAGES




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                 2019)
                 Extreme Tech, A rare look inside an LTE cell site, operated by Sprint in
                 San Francisco (June 12, 2013) available at
     2.          https://www.extremetech.com/extreme/158342-a-rare-look-inside-an-lte-
                 cell-site-operated-by-sprint-in-san-francisco
     3.          Deposition Transcript of Carmen Borja (Apr. 11, 2019)

     4.          INTENTIONALLY LEFT BLANK

     5.          Deposition Transcript of Keith Belcher (Apr. 15, 2019)




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  Exhibit        Description




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     32.         Invoice from      to Sprint produced as SCFRCTS06004521

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 I.          INTRODUCTION

             As a matter of law, Fractus, S.A. (“Fractus”) cannot recover pre-suit damages, because it

 failed to comply with the marking and actual notice requirements of 35 U.S.C. § 287(a).




              Fractus also has admitted

                                                                            . Thus, no facts exist that

 would allow Fractus to collect pre-suit damages. Accordingly, this Court should enter summary

 judgment of no pre-suit damages.

 II.         STATEMENT OF ISSUES TO BE DECIDED

             Whether Fractus is precluded from recovering pre-suit damages under 35 U.S.C. § 287,

 where Fractus has no evidence that it provided actual notice of the alleged infringement or that it

 complied with its marking obligations before filing these cases.

 III.        STATEMENT OF UNDISPUTED FACTS

        1. Although Fractus originally asserted ten patents in this case, Fractus since has dropped half

 of those patents, leaving the following five Asserted Patents: U.S. Patent Nos. 6,937,191,

 7,250,918, 7,557,768, 7,932,870, 8,228,256 (collectively, “the Asserted Patents.”).

        2. Each asserted claim of each Asserted Patent is an apparatus claim. Exh. 1 at Admission

 No. 1.

        3.




 1
   “Defendants” are T-Mobile USA, Inc., T-Mobile U.S. (collectively, “T-Mobile”), Cellco
 Partnership d/b/a Verizon Wireless (“Verizon”), CommScope Technologies, LLC
 (“CommScope”), and Cellmax Technologies AB (“Cellmax”).


                                                     1
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         A.   Fractus Failed to Require its Licensee   to Mark

    5.




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       B.    Fractus Also Failed to Require its Licensee and Development Partner
             to Mark




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          C.     Fractus Did Not Provide any Defendant Actual Notice of Alleged Infringement
                 Before Filing its Complaints

       25. Fractus’s Vice President of Licensing and Rule 30(b)(6) witness regarding Fractus’s

 litigation activities admitted that




       26. Fractus’s responses to Defendants’ requests for admission confirm that Fractus did not

 provide actual notice of the alleged infringement prior to filing suit. Exh. 53 at 80:3-81:10, Exh.

 56.

 IV.      LEGAL STANDARD

          Summary judgment must be granted when there is no “genuine dispute as to any material

 fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). Once the

 moving party identifies those portions of the record that demonstrate the absence of a genuine

 issue of material fact, the non-moving party bears the burden of coming forward with evidence

 sufficient for “a reasonable jury [to] return a verdict for the non-moving party.’” Crawford v.

 Formosa Plastics Corp., La., 234 F.3d 899, 902 (5th Cir. 2000) (quoting Anderson v. Liberty



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 Lobby, Inc., 477 U.S. 242, 248 (1986)); see also Celotex Corp. v. Catrett, 477 U.S. 317, 323

 (1986); Geiserman v. MacDonald, 893 F.2d 787, 793 (5th Cir. 1990). Summary judgment “is

 appropriate if the non-movant ‘fails to make a showing sufficient to establish the existence of an

 element essential to that party’s case.’” Bluebonnet Hotel Ventures, LLC v. Wells Fargo Bank,

 N.A., 754 F.3d 272, 276 (5th Cir. 2014) (quoting Celotex, 477 U.S. at 322).

        Patentees making, offering for sale, selling, or importing any “patented article” in the U.S.,

 and any others doing so under patentees (e.g., licensees), may mark the article with the patent

 number to provide constructive notice of infringement. 35 U.S.C. § 287; Arctic Cat Inc. v.

 Bombardier Recreational Products, Inc., 876 F.3d 1350, 1365-67 (Fed. Cir. 2017). Absent such

 marking, “no damages shall be recovered by the patentee in any action for infringement, except

 on proof that the infringer was notified of the infringement and continued to infringe thereafter, in

 which event damages may be recovered only for infringement occurring after such notice.” 35

 U.S.C. § 287; Arctic Cat, 876 F.3d at 1365-66. Actual notice under § 287 requires that Fractus

 affirmatively communicate a specific charge of “the infringement,” not merely notice of the

 patent’s existence or ownership. See Amsted Indus. Inc. v. Buckeye Steel Castings Co., 24 F.3d

 178, 187 (Fed. Cir. 1994). If the patentee fails to prove that it provided actual or constructive

 notice before filing suit, then the patentee cannot pursue damages for any period before the filing

 of the complaint. 35 U.S.C. § 287; see also Maxwell v. J. Baker, Inc., 86 F.3d 1098, 1111 (Fed.

 Cir. 1996) (explaining that plaintiff-patentee bears the burden of proving compliance with marking

 statute); Arctic Cat, 876 F.3d at 1366-67 (holding that the duty of alleging and the burden of

 proving marking and actual notice is on the plaintiff).

 V.     ARGUMENT

        A.      Fractus Cannot Demonstrate Compliance With § 287(a)




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        Fractus asserts claims from five patents. See Statement of Undisputed Facts (“SUF”), ¶ 1.

 Every asserted claim in each case is an apparatus claim. SUF, ¶ 2. As explained below,




                                                                                     . Fractus also

 failed to provide any Defendant actual notice of infringement prior to filing this lawsuit. As a

 matter of law, therefore, Fractus cannot recover pre-suit damages. See, e.g., American Medical

 Sys. v. Medical Eng’g Corp., 6 F.3d 1523, 1537 (Fed. Cir. 1993) (“[W]e construe section 287(a)

 to preclude recovery of damages only for infringement for any time prior to compliance with the

 marking or actual notice requirements of the statute.”); 35 U.S.C. § 287.

                1.     Fractus Failed To Require Licensee                To Mark Its Allegedly
                       Practicing Products

        The facts regarding licensee                 sales of allegedly practicing products are

 undisputed.           and Fractus executed a settlement and license agreement on                 .

 SUF, ¶ 5. The license agreement

                                       Over a period extending both before and since Fractus and

           executed the license agreement,

          Since the          License was executed,

                               . Fractus itself contends that the antennas sold by        practice

 the Asserted Patents and provided contention charts for each of the

          . SUF, ¶¶ 11-12.




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                                                               Failure to require an actively selling

 licensee to mark its practicing                                                             —does

 not constitute “substantially consistent and continuous marking” or “reasonable efforts to ensure

 [licensees’] compliance with the marking requirements.” Maxwell, 86 F.3d at 1111-12; AMS, 6

 F.3d at 1537; Acantha LLC v. Depuy Orthopedics Inc., 2018 WL 2290715, at *7, Case No. 15-c-

 1257 (E.D. Wis. May 19, 2018) (“no reasonable juror could conclude that Acantha substantially

 complied with the statute when only five to seven percent of the licensed product was marked”).

 No court has found that a complete failure of a licensee to mark is acceptable to provide

 constructive notice.

        While Fractus claims that it conducted an investigation of                 products in 2014

 (Dkt. No. 298 at 12), it has claimed privilege over the details of that investigation and has not

 identified any court that has found that a cursory investigation that wholly missed public evidence

 of sales activity before entering into a license is sufficient to demonstrate “reasonable efforts.”

 Dkt. No. 298 at 12; SUF, ¶¶ 17-18; see Maxwell, 86 F.3d at 1111-12. Further, there is no authority

 supporting a finding that an investigation that only took place at the time a license was signed was

 sufficient to constitute reasonable efforts over the entire time period that a licensee was selling

 unmarked patent-practicing products.3

                2.      Fractus Failed To Mark Its Own Allegedly Practicing Products
                        Manufactured And Sold By Licensee




 3
  Fractus also has asserted privilege over the alleged investigation. SUF, ¶ 17. But “attorney-client
 privilege cannot be used as both a sword and a shield.” In re OptumInsight, Inc., No. 2017-116,
 2017 WL 3096300, at *3 (Fed. Cir. July 20, 2017). Thus, Fractus should not be permitted to
 selectively rely on parts of that alleged investigation to raise a factual dispute.


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        Fractus’s marking failures also predate the                license. Fractus has identified

 products that it developed with its licensee         as practicing the Asserted Patents. See Section

 III.B, above; see also SUF, ¶ ¶ 19-22. Fractus’s Rule 30(b)(6) witnesses testified




                                            Thus, Fractus also cannot demonstrate that it met the

 marking requirements for the allegedly practicing Fractus-           products.

                3.




                                                           . The unrebutted evidence demonstrates

 that




           confirms that Fractus never made “reasonable efforts to ensure compliance with the

 marking requirements.” Maxwell, 86 F.3d at 1111-12.

                4.      Fractus Did Not Provide Defendants Actual Notice Prior To Filing
                        Suit

        As an alternative to the marking provision, actual notice requires a “specific charge of

 infringement by a specific accused product or device.” Amsted, 24 F.3d at 187; see 35 U.S.C. §

 287(b)(5)(A) (explaining that notice of infringement requires actual knowledge or receipt of



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 “information sufficient to persuade a reasonable person that it is likely that a product was made by

 a process patented in the United States”); Mass. Inst. of Tech. v. Abacus Software, Inc., No. CIV

 A 501-CV344, 2004 WL 5268125, at *3 (E.D. Tex. Sept. 29, 2004).

        Fractus has no evidence that it provided actual notice of infringement prior to filing suit

 and has admitted that it did not provide any Defendant with actual notice of infringement of any

 Asserted Patent prior to filing suit on April 9, 2018.4 SUF, ¶¶ 26-27. Accordingly, actual notice

 does not save Fractus’s pre-suit damages claim. 35 U.S.C. § 287; Amsted, 24 F.3d at 187.

        B.      Fractus’s Failure To Mark Or To Give Actual Notice Bars All Pre-Suit
                Damages

        Fractus’s failures relating to marking and actual notice of infringement bar pre-suit

 damages as a matter of law. American Medical Sys., 6 F.3d at 1537; 35 U.S.C. § 287(a).

        First, it is undisputed that:




                               and (iv) Fractus did not provide any Defendant any actual notice of



 4
  Fractus admits that prior to filing of its complaints, Fractus provided no notice of its allegations
 of infringement to Verizon, CommScope, and CellMax. See Exh. 53 at 80:3-82:6; Exh. 56
 (Fractus’s Objections and Responses to Verizon’s First Set of RFAs), Response to RFA No. 5;
 Exh. 57 (Fractus’s Objections and Responses to CommScope’s First Set of RFAs), Responses to
 RFA No. 1–3.



                       Exh. 58 (Fractus’s Objections and Responses to T-Mobile’s First Set of
 RFAs), Responses to RFA No. 1–3.


                                                                     Amsted, 24 F.3d at 187;
 Semiconductor Energy Lab. Co. Ltd. v. Chi Mei Optoelectronics Corp., 531 F. Supp. 2d 1084,
 1115 (N.D. Cal. 2007); ZitoVault, LLC v. International Business Machines Corp., Case No. 16-
 cv-0962-M, 2018 WL 2971131, at *3 (N.D. Tex. Mar. 29, 2018).

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 infringement of any of the Asserted Patents. This marking/notice failure precludes recovery of

 pre-suit damages under the plain language of 35 U.S.C. § 287, which states that under these

 circumstances, “no damages shall be recovered by the patentee in any action for infringement.” 35

 U.S.C. § 287 (emphasis added); see also Amsted, 24 F.3d at 185. Failure to mark patented articles

 under § 287 at any point pre-suit results in no damages until after actual notice is provided,

 according to the plain language of § 287. 35 U.S.C. § 287(a); Adrea, LLC v. Barnes & Noble, Inc.,

 No. 13-CV-4137 JSR, 2015 WL 4610465, at *3 (S.D.N.Y. July 24, 2015) (disagreed with on other

 grounds by Arctic Cat, 876 F.3d at 1368).

        Fractus likely will point to cases adopting the opposite view—that a patentee who fails to

 mark products or require its licensees to mark products in contravention of Section 287(a) may

 still recover damages for some period prior to when a marking duty began; indeed, there is a district

 court split on this issue unresolved by the Federal Circuit. See, e.g., WiAV Solutions LLC v.

 Motorola, Inc., 732 F. Supp. 2d 634, 639-40 (E.D. Va. 2010). These cases were wrongly decided,

 as explained by the district court in Adrea. Citing the Supreme Court, the Adrea Court explained

 that Section 287(a) “is clear that, where plaintiff fails to mark its patented articles, it may not

 recover damages until after it gives actual notice to the accused infringer.” Adrea, 2015 WL

 4610465, at *3 (quoting Robinson v. Shell Oil Co., 519 U.S. 337, 340 (1997) that “where the

 statutory language is unambiguous and the statutory scheme is coherent and consistent, the Court’s

 inquiry must cease”). The WiAV decision and its progeny do not recognize the plain language of

 the statute. Rather, these cases look at the supposed underlying purposes of the marking statute,

 and interpret them not as they are plainly written, but rather to enact these unwritten purposes.

 E.g., WiAV, 732 F. Supp. 2d at 639. It is not up to courts to rewrite statutes to serve unstated

 purposes; the courts must apply the statutes as written. Caminetti v. U.S., 242 U.S. 470, 485 (1917)




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 (“Where the language is plain and admits of no more than one meaning the duty of interpretation

 does not arise.”) Thus, based on the undisputed facts and the plain language of the statute, Fractus

 cannot recover damages prior to the date of actual notice—the April 9, 2018 filing of the

 Complaints.

        Second, Fractus’s



                                                                                        See Section

 III.B, above.                       , coupled with Fractus’s failure to provide Defendants actual

 notice of infringement of any Asserted Patent,

                              See Arctic Cat, 334 F. Supp. 3d 1238, 1247-48 (S.D. Fla. 2018)

 (rejecting patentee’s argument that it was entitled to past damages for period where no practicing

 products were sold); AMS, 6 F.3d at 1537-38 (indicating that following an initial failure to mark,

 no pre-suit damages are available until actual notice is given or the marking requirements are

 satisfied); Amsted, 24 F.3d at 185. In addition to having no evidence that it later satisfied the

 marking requirements for any practicing product for any Asserted Patent,

                                                                  —further confirming that Fractus

 made no effort to ensure proper marking for any of the pre-suit timeframe and that Fractus should

 not be entitled to pre-suit damages. SUF, ¶ 3; see Arctic Cat, 334 F. Supp. 3d at 1247-48; AMS, 6

 F.3d at 1537-38; Amsted, 24 F.3d at 185.

 VI.    CONCLUSION

        For the reasons above, there is no genuine dispute that (1) Fractus did not provide

 constructive notice by meeting the marking requirements; and (2) Fractus did not provide actual

 notice to any Defendant or Defendant-Intervenor. Accordingly, this Court should grant summary

 judgment of no pre-suit damages.


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 DATED: June 3, 2019                        Respectfully submitted,

                                            /s/ Douglas M. Kubehl
                                            Douglas M. Kubehl
                                            Texas State Bar No. 00796909
                                            E-mail: doug.kubehl@bakerbotts.com
                                            Jeffery D. Baxter
                                            Texas State Bar No. 24006816
                                            E-mail: jeff.baxter@bakerbotts.com
                                            David Tobin
                                            Texas State Bar No. 24060735
                                            E-mail: david.tobin@bakerbotts.com
                                            Cason G. Cole
                                            Texas State Bar No. 24109741
                                            E-mail: cason.cole@bakerbotts.com
                                            BAKER BOTTS L.L.P.
                                            2001 Ross Avenue
                                            Dallas, Texas 75201
                                            Telephone: (214) 953-6500

                                            Sarah J. Guske
                                            California State Bar No. 232467
                                            E-mail: sarah.guske@bakerbotts.com
                                            BAKER BOTTS L.L.P.
                                            101 California St.
                                            San Francisco, CA 94111
                                            Telephone: (415) 291-6200

                                            Syed K. Fareed
                                            Texas State Bar No. 24065216
                                            E-mail: syed.fareed@bakerbotts.com
                                            Valerie Barker
                                            Texas State Bar No. 24087141
                                            E-mail: valerie.barker@bakerbotts.com
                                            Bailey Morgan Watkins
                                            Texas State Bar No. 24102244
                                            E-mail: bailey.watkins@bakerbotts.com
                                            BAKER BOTTS L.L.P.
                                            98 San Jacinto Blvd #1500


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                                            Austin, TX 78701
                                            Telephone: (512) 322-2500
                                            Facsimile: (214) 953-6503

                                            Attorneys for T-Mobile USA, Inc., and
                                            T-Mobile US, Inc.



                                            /s/ Ross R. Barton
                                            Ross R. Barton (NC Bar No. 37179)
                                            J. Ravindra Fernando (NC Bar No. 49199)
                                            ALSTON & BIRD LLP
                                            101 South Tyron Street, Suite 4000
                                            Charlotte, North Carolina, 28280
                                            Phone: (704) 444-1000
                                            Fax: (704) 444-1111
                                            Email: ross.barton@alston.com
                                            Email: ravi.fernando@alston.com

                                            Michael J. Newton (TX Bar No. 24003844)
                                            Brady Cox (TX Bar No. 24074084)
                                            ALSTON & BIRD LLP
                                            2200 Ross Avenue, Suite 2300
                                            Dallas, TX 75201
                                            Phone: (214) 922-3400
                                            Fax: (214) 922-3899
                                            Email: mike.newton@alston.com
                                            Email: brady.cox@alston.com

                                            Darlena H. Subashi (NC Bar No. 53142)
                                            ALSTON & BIRD LLP
                                            555 Fayetteville Street, Suite 600
                                            Raleigh, North Carolina 27601
                                            Phone: (919) 862-2200
                                            Fax: (919) 862-2260
                                            Email: darlena.subashi@alston.com

                                            Michael E. Jones (TX Bar No. 10929400)
                                            Patrick C. Clutter (TX Bar No. 24036374)
                                            POTTER MINTON, a Professional
                                            Corporation
                                            110 North College Avenue, Suite 500
                                            Tyler, TX 75702
                                            Phone: (903) 597-8311


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                                            Fax: (903) 593-0846
                                            Email: mikejones@potterminton.com
                                            Email: patrickclutter@potterminton.com


                                            Attorneys for Defendant Cellco
                                            Partnership d/b/a Verizon Wireless

                                            /s/Dennis C. Bremer

                                            Eric H. Findlay
                                            State Bar No. 00789886
                                            Brian Craft
                                            State Bar No. 04972020
                                            FINDLAY CRAFT, P.C.
                                            102 N. College Ave., Ste. 900
                                            Tyler, TX 75702
                                            (903) 534-1100 Telephone
                                            (903) 534-1137 Facsimile
                                            efindlay@findlaycraft.com
                                            bcraft@findlaycraft.com

                                            OF COUNSEL:
                                            Philip P. Caspers
                                            Timothy A. Lindquist
                                            Dennis C. Bremer
                                            Iain A. McIntyre
                                            Bradley W. Micsky
                                            Caroline L. Marsili
                                            CARLSON, CASPERS, VANDENBURGH
                                            LINDQUIST & SCHUMAN, P.A.
                                            225 South Sixth Street, Suite 4200
                                            Minneapolis, Minnesota 55402
                                            (612) 436-9600 Telephone
                                            (612) 436-9605 Facsimile
                                            pcaspers@carlsoncaspers.com
                                            tlindquist@carlsoncaspers.com
                                            dbremer@carlsoncaspers.com
                                            imcintyre@carlsoncaspers.com
                                            bmicsky@carlsoncaspers.com
                                            cmarsili@carlsoncaspers.com

                                            Attorneys for Intervenor CommScope
                                            Technologies LLC

                                            /s/Peter J. Ayers
                                            Peter J. Ayers


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                                                      Texas Bar No. 24009882
                                                      LAW OFFICE OF PETER J. AYERS, PLLC
                                                      2200 Bowman Avenue
                                                      Austin, Texas 78703
                                                      Telephone: (512) 771-3070
                                                      Facsimile: (512) 771-3070
                                                      peter@ayersiplaw.com

                                                      Of Counsel:
                                                      Ped C. Kay, II
                                                      BROUSSARD & KAY, LLC
                                                      909 Garber Road
                                                      Post Office Box 189
                                                      Broussard, LA 70518
                                                      Telephone: (337) 232-1666
                                                      Facsimile: (337) 330-4766
                                                      ped@bandkay.com


                                                      Attorneys for Intervenor
                                                      CellMax Technologies, AB


                                 CERTIFICATE OF SERVICE



        I hereby certify that counsel of record who are deemed to have consented to electronic

 service are being served this June 3, 2019 with a copy of this document via electronic mail.


 Dated: June 3, 2019                                  /s/ Douglas M. Kubehl
                                                      Douglas M. Kubehl



              CERTIFICATE OF AUTHORIZATION TO FILE UNDER SEAL



        I hereby certify that this document is being filed under seal pursuant to the Protective

 Order entered in this matter.

 Dated: June 3, 2019                                  /s/ Douglas M. Kubehl


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                                            Douglas M. Kubehl




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